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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA

V. : CRIMINAL NO. 23-er-239 (CKK)
ILYA LICHTENSTEIN, et al.,

Defendants.

ORDER AUTHORIZING ALTERNATIVE NOTIFICATION PROCEDURES

Upon Spplication of the United States, and for good cause shown,

IT IS HEREBY ORDERED that the government’s motion is GRANTED. The United States shall
use reasonable alternative notification procedures pursuant to 18 U.S.C. § 3771(d)(2) to notify
persons potentially harmed by the offenses to which the defendants have pled guilty to permit
any who claim potential crime victim status to assert any rights under the Crime Victims’
Rights Act (CVRA), 18 U.S.C. § 3771.

IT IS FURTHER ORDERED that the government shall post a link on the Department
of Justice’s website for large cases, located at http://justice.gov/largecases, that will direct
potential victims to a case-specific website where all required notices shall be posted. The
case-specific website shall contain the notices required under the CVRA and shall provide
people with the opportunity to complete a victim impact statement to relay information about

how they may have been victimized.

IT IS SO ORDERED.

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DATED: _O ct /0, 2024 Ciles K Ma Ktde
‘ THE HONORABLE COLLEEN KOLLAR-KOTELLY
UNITED STATES DISTRICT JUDGE

